                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:09CR39-FDW

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )             PRELIMINARY ORDER
                                                  )               OF FORFEITURE
(1) JASON DENNYION CAMPBELL,                      )
                                                  )
                       Defendant.                 )

       In the First Superseding Bill of Indictment in this case, the United States sought forfeiture

of property of the Defendant as property that was used or intended to be used to facilitate the crimes

charged, which would be subject to forfeiture under 18 U.S.C. § 924, 18 U.S.C. § 981, 21 U.S.C.

§853, 28 U.S.C. § 2461 and Fed. R. Crim. P. 32.2(b).

       Defendant entered into a plea agreement; subsequently pled guilty to Counts One, Ten,

eleven, Nineteen and Twenty-six in the First Superseding Bill of Indictment; and was adjudged

guilty of the offenses charged in those counts. Based on the plea agreement stipulations, Defendant

has agreed to forfeit specific property as described below.

       It is therefore ORDERED:

       1. Based upon Defendant’s plea agreement and pleas of guilty, the United States is

authorized to seize the following property belonging to Defendant, and it is hereby forfeited to the

United States for disposition according to law, subject to the provisions of 21 U.S.C.

       One Taurus .357 revolver, serial number ZC33580 and ammunition;

       One .12 gauge Mossberg Shotgun, Model 500A, serial number J904283 and
       ammunition;




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        One .45 Smith and Wesson, semi-automatic pistol, Model 457, serial number VUV9484
        and ammunition;

        One .40 Sig Sauer, semi-automatic pistol, Model P239, serial number SA4-131528 and
        ammunition;

        One .9mm Glock semi-automatic pistol, Model 19, serial number AKL297S and
        ammunition;

        One .40 caliber Glock semi-automatic pistol, model 22, serial number CUP736US and
        ammunition;

        One Norinco MAK90 7.62 caliber semi-automatic rifle, serial number 9327881 and
        ammunition;

        One Colt .357 Python revolver serial number K91186 and ammunition;

        One Entreprise Arms Model STG58C, .308 caliber semi-automatic assault rifle, serial
        number KR3327 and ammunition; and

        One JLD Enterprise Model PTR-91 .308 caliber semi-automatic assault rifle and
        ammunition. Ruger .22 caliber revolver and ammunition.

        2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish notice of this order; notice

of its intent to dispose of the property in such manner as the Attorney General may direct; and notice

that any person, other than the Defendant, having or claiming a legal interest in any of the above-

listed forfeited property must file a petition with the Court within thirty days of the final publication

of notice or of receipt of actual notice, whichever is earlier. This notice shall state that the petition

shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the property,

shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and extent

of the petitioner’s right, title or interest in each of the forfeited properties and any additional facts

supporting the petitioner’s claim and the relief sought. The United States may also, to the extent

practicable, provide direct written notice to any person known to have alleged an interest in property

that is the subject of this Order of Forfeiture, as a substitute for published notice as to those persons




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so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. §853(n).

                                                Signed: October 8, 2009




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